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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    GAINESVILLE DIVISION


IN RE:                                                       CASE NO. G14-20455-JRS
                                                       )
                                                             CHAPTER 13
JEFFREY MICHAEL HUTCHISON
                                                       )
                                                       )
                                                       )
         DEBTOR                                        )     NOTICE OF FINAL CURE PAYMENT



Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Nancy J. Whaley
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full.

Name of Creditor: U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE


Final Cure Amount

Court   Account                                  Claim               Claim               Amount
Claim # Number                                   Asserted            Allowed             Paid
   6      1338                                   $26,095.24          $26,095.24          $26,095.24

Total Amount Paid by Trustee                                                             $26,095.24


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

     Through the Chapter 13 Conduit                   X Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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                                 CERTIFICATE OF SERVICE

Case No: G14-20455-JRS

This is to certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Notice of Final Cure Payment by depositing in the United States mail a copy of
same in a properly addressed envelope with adequate postage thereon.

JEFFREY MICHAEL HUTCHISON                        U.S. BANK TRUST NATIONAL
416 BRIARWOOD RD                                 ASSOCIATION, AS TRUSTEE
WINDER, GA 30680                                 OF THE PRP II PALS INVESTMENTS TRUST
                                                 C/O SN SERVICING CORP.
                                                 323 5TH STREET
                                                 EUREKA,, CA 95501


ELECTRONIC SERVICE -
BURROW & ASSOCIATES, LLC



ELECTRONIC SERVICE -
UNITED STATES TRUSTEE




This the 16th day of January, 2019


/s/__________________________________________
  Nancy J. Whaley
  Standing Chapter 13 Trustee
  State Bar No. 377941
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
